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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MASHALL DIVISION




         Secure Matrix LLC,                                               Case No. 2:24-cv-1081

                 Plaintiff,                                               Patent Case

                 v.                                                       Jury Trial Demanded

         Cavender's Out Of State Stores, Ltd.,

                 Defendant.



                                COMPLAINT FOR PATENT INFRINGEMENT

        1.      Plaintiff Secure Matrix LLC (“Plaintiff”), through its attorneys, complains of

 Cavender's Out Of State Stores, Ltd. (“Defendant”), and alleges the following:

                                                 PARTIES

        2.      Plaintiff Secure Matrix LLC is a corporation organized and existing under the

 laws of DE that maintains its principal place of business at 261 W. 35th Street, Suite 1003, New

 York, NY 10003.

        3.      Defendant Cavender's Out Of State Stores, Ltd. is a corporation organized and

 existing under the laws of TX that maintains an established place of business at 7820 S

 Broadway Ave, Tyler, Texas 75703.

                                              JURISDICTION

        4.      This is an action for patent infringement arising under the patent laws of the

 United States, Title 35 of the United States Code.




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        5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

 1338(a).

        6.      This Court has personal jurisdiction over Defendant because it has engaged in

 systematic and continuous business activities in this District. As described below, Defendant has

 committed acts of patent infringement giving rise to this action within this District.

                                                     VENUE

        7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

 an established place of business in this District. In addition, Defendant has committed acts of

 patent infringement in this District, and Plaintiff has suffered harm in this district.

                                               PATENT-IN-SUIT

        8.      Plaintiff is the assignee of all right, title and interest in United States Patent No.

 8,677,116 (the “Patent-in-Suit”); including all rights to enforce and prosecute actions for

 infringement and to collect damages for all relevant times against infringers of the Patent-in-Suit.

 Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the present action

 for infringement of the Patent-in-Suit by Defendant.

                                               THE ’116 PATENT

        9.      The ’116 Patent is entitled “Systems and methods for authentication and

 verification,” and issued 2014-03-18. The application leading to the ’116 Patent was filed on

 2013-08-09. A true and correct copy of the ’116 Patent is attached hereto as Exhibit 1 and

 incorporated herein by reference.

                               COUNT 1: INFRINGEMENT OF THE ’116 PATENT

        10.     Plaintiff incorporates the above paragraphs herein by reference.

        11.     Direct Infringement. Defendant has been and continues to directly infringe one

 or more claims of the ’116 Patent in at least this District by making, using, offering to sell,
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 selling and/or importing, without limitation, at least the Defendant products identified in the

 charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

 infringe at least the exemplary claims of the ’116 Patent also identified in the charts incorporated

 into this Count below (the “Exemplary ’116 Patent Claims”) literally or by the doctrine of

 equivalents. On information and belief, numerous other devices that infringe the claims of the

 ’116 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

 customers.

        12.     Defendant also has and continues to directly infringe, literally or under the

 doctrine of equivalents, the Exemplary ’116 Patent Claims, by having its employees internally

 test and use these Exemplary Products.

        13.     Actual Knowledge of Infringement. The service of this Complaint, in

 conjunction with the attached claim charts and references cited, constitutes actual knowledge of

 infringement as alleged here.

        14.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

 for sale, market, and/or import into the United States, products that infringe the ’116 Patent. On

 information and belief, Defendant has also continued to sell the Exemplary Defendant Products

 and distribute product literature and website materials inducing end users and others to use its

 products in the customary and intended manner that infringes the ’116 Patent. See Exhibit 2

 (extensively referencing these materials to demonstrate how they direct end users to commit

 patent infringement).

        15.     Induced Infringement. At least since being served by this Complaint and

 corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

 induce infringement of the ’116 Patent, literally or by the doctrine of equivalents, by selling

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 Exemplary Defendant Products to their customers for use in end-user products in a manner that

 infringes one or more claims of the ’116 Patent.

         16.     Exhibit 2 includes charts comparing the Exemplary ’116 Patent Claims to the

 Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

 practice the technology claimed by the ’116 Patent. Accordingly, the Exemplary Defendant

 Products incorporated in these charts satisfy all elements of the Exemplary ’116 Patent Claims.

         17.     Plaintiff therefore incorporates by reference in its allegations herein the claim

 charts of Exhibit 2.

         18.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

 infringement.

                                                  JURY DEMAND

         19.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

 requests a trial by jury on all issues so triable.

                                              PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests the following relief:

         A.      A judgment that the ’116 Patent is valid and enforceable

         B.      A judgment that Defendant has infringed directly and indirectly one or more

                 claims of the ’116 Patent;

         C.      An accounting of all damages not presented at trial;

         D.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                 for Defendant's continuing or future infringement, up until the date such judgment

                 is entered with respect to the ’116 Patent, including pre- or post-judgment interest,

                 costs, and disbursements as justified under 35 U.S.C. § 284;


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       E.     And, if necessary, to adequately compensate Plaintiff for Defendant's

              infringement, an accounting:

               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


 Dated: December 30, 2024                     Respectfully submitted,

                                              /s/ Isaac Rabicoff
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